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   12
                            UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14
   15
      In re: KIA HYUNDAI VEHICLE                  Case No. 8:22-ML-3052-JVS(KESx)
   16 THEFT MARKETING, SALES
      PRACTICES, AND PRODUCTS
   17 LIABILITY LITIGATION                        The Honorable James V. Selna
   18                                             NOTICE OF COMPLIANCE WITH
   19                                             28 U.S.C. § 1715
   20
        This document relates to:
   21
        CONSUMER CLASS ACTION
   22
   23         PLEASE TAKE NOTICE that pursuant to Section IV.C.3 of the consumer
   24 class plaintiffs’ unopposed motion for preliminary approval of the amended class
   25 action settlement (Dkt. 228 at 32) and Section IV.A of the amended Settlement
   26 Agreement (Dkt. 228-2 at 22), defendants Hyundai Motor Company, Hyundai Motor
   27 America, Kia America, Inc., Hyundai-Kia American Technical Center, Inc., and Kia
   28 Corporation, respectfully file this notice and the attached Declaration from Angeion

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    1 Group, LLC to confirm that the required notice of the proposed settlement was sent
    2 pursuant to 28 U.S.C. § 1715 on October 6, 2023.
    3 Dated: October 25, 2023
    4
                                            By: /s/Shon Morgan
    5                                              Shon Morgan
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                                                    NOTICE OF COMPLIANCE WITH 28 U.S.C. § 1715
